             Case 21-00040                Filed 03/01/21         Entered 03/01/21 12:02:11                   Doc# 1        Page 1 of 35
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ALASKA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RB Enterprises LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1020 W. 12th Ave.                                               205 E Dimond Blvd 515
                                  Anchorage, AK 99501                                             Anchorage, AK 99515
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Anchorage                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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          RB Enterprises LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known


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         RB Enterprises LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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          RB Enterprises LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 1, 2021
                                                  MM / DD / YYYY


                             X   /s/ Robert Gross                                                        Robert Gross
                                 Signature of authorized representative of debtor                        Printed name

                                 Title    Member/Manager




18. Signature of attorney    X   /s/ Christine M. Tobin-Presser                                           Date March 1, 2021
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Christine M. Tobin-Presser
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      ctobin@bskd.com

                                 WSBA 27628 WA
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         RB Enterprises LLC

 United States Bankruptcy Court for the:            DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 1, 2021                           X /s/ Robert Gross
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert Gross
                                                                       Printed name

                                                                       Member/Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               Case 21-00040                    Filed 03/01/21              Entered 03/01/21 12:02:11                        Doc# 1            Page 6 of 35

 Fill in this information to identify the case:
 Debtor name RB Enterprises LLC
 United States Bankruptcy Court for the: DISTRICT OF ALASKA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alaska Housing                                                                                                                                                       $5,920,842.00
 Finance Corporation             william@ahfc.com
 PO Box 101020
 Anchorage, AK
 99510-1020
 Alaska Housing                                                                                                                                                       $2,286,297.00
 Finance Corporation             william@ahfc.com
 PO Box 101020
 Anchorage, AK
 99510-1020
 Amex Blue                                                       Credit Card                                                                                                $2,000.00
 PO Box 981535
 El Paso, TX                     800-221-9950
 79998-1535
 Amex Lowes                                                      Credit Card                                                                                              $24,800.00
 PO Box 981535
 El Paso, TX                     800-221-9950
 79998-1535
 AT&T Mobility                                                   Services                                                                                                     $350.00
 PO Box 6463
 Carol Stream, IL                800-444-6161
 60197-6463
 Bank of America                                                 Credit Card                                                                                              $35,500.00
 VISA
 PO Box 982238                   800-673-1044
 El Paso, TX
 79998-2238
 Boyd Chandler                                                   Professional                                                                                           $229,000.00
 Falconer                        bfalconer@bcfakla               Services
 911 West Eighth Ave             w.com
 #302
 Anchorage, AK
 99501




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    RB Enterprises LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Business Financial                                              Personal Property                                  $211,962.00                        $0.00               Unknown
 Services, Inc.                  mham-cruz@bfsca
 3301 N University               pital.com
 Drive, Suite 3000
 Coral Springs, FL
 33065
 Fed Ex                                                          Services                                                                                                     $100.00
 3965 Airways,
 Module G                        800-463-3339
 Memphis, TN 38116
 General                                                         Services                                                                                                     $100.00
 Communications                  907-375-7229
 Inc.
 PO Box 99016
 Anchorage, AK
 99509-9016
 Home Depot                                                      Credit Card                                                                                                $1,000.00
 PO Box 790345
 Saint Louis, MO                 800-685-6691
 63179-0345
 Office Depot                                                    Services                                                                                                     $250.00
 94-1489 Moaniani
 Street                          800-463-3768
 Waipahu, HI 96797
 Small Business                                                  Loan                                                                                                       $2,000.00
 Administration
 PO Box 3918                     800-659-295
 Portland, OR
 97208-3918
 Small Business                                                  Loan                                                                                                   $120,415.00
 Financial Solutions             doliver@rapidfinan
 4500 East West                  ce.com
 HIghway, 6th
 Bethesda, MD 20814




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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           Case 21-00040                            Filed 03/01/21                         Entered 03/01/21 12:02:11                                          Doc# 1               Page 8 of 35
 Fill in this information to identify the case:

 Debtor name            RB Enterprises LLC

 United States Bankruptcy Court for the:                       DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $           400,500.22

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $           400,500.22


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $           632,229.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$        9,530,375.58


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $         10,162,604.58




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                             Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         RB Enterprises LLC

 United States Bankruptcy Court for the:            DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Northrim Bank                                           Checking                        1542                                       $500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $1,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Funds on deposit with Alaska Superior Court, 3rd Judicial District in Mystery Bay et al.
           7.1.     v. Gross et al., 3AN-14-08418CI                                                                                               $379,735.72




           7.2.     Professional retainer held in Bush Kornfeld LLP trust account                                                                   $19,764.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         RB Enterprises LLC                                                           Case number (If known)
                Name



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                      $399,500.22
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership
                     50% membership Interest in IT, LLC which
                     owns and operates Inlet Towers Hotel &
            15.1.    Suites in Anchorage, Alaska                                              %                                          Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                              $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         RB Enterprises LLC                                                           Case number (If known)
                Name

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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          Case 21-00040                      Filed 03/01/21                    Entered 03/01/21 12:02:11                              Doc# 1       Page 12 of 35
 Debtor          RB Enterprises LLC                                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $399,500.22

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $400,500.22           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $400,500.22




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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         Case 21-00040                      Filed 03/01/21              Entered 03/01/21 12:02:11                   Doc# 1         Page 13 of 35
 Fill in this information to identify the case:

 Debtor name         RB Enterprises LLC

 United States Bankruptcy Court for the:            DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Business Financial
 2.1                                                                                                                       $211,962.00                       $0.00
       Services, Inc.                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Personal Property
       3301 N University Drive,
       Suite 3000
       Coral Springs, FL 33065
       Creditor's mailing address                     Describe the lien
                                                      UCC
       mham-cruz@bfscapital.co                        Is the creditor an insider or related party?
       m                                                 No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/27/19                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3918
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Mystery Ranch LLC                              Describe debtor's property that is subject to a lien                 $420,267.00               $420,267.00
       Creditor's Name                                LLC Membership Interest , including 50%
                                                      interest in IT, LLC which the Debtor
                                                      reasonably believes has a vlaue of greater
       c/o Jefferey Cunningham                        than the amount of any claim of Mystery
       10710 Constitution Street                      Ranch, LLC encumbering such interest.
       Anchorage, AK 99515
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
       jack@inlettowerhotel.com                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       RB Enterprises LLC                                                                      Case number (if known)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $632,229.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Wayne Dawson
        Dawson Law Group                                                                                      Line   2.2
        PO Box 244965
        Anchorage, AK 99524




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         RB Enterprises LLC

 United States Bankruptcy Court for the:            DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $152,508.00
           32 Mile Investments LLC                                              Contingent
           205 E Dimond Blvd # 515                                              Unliquidated
           Anchorage, AK 99515                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,000.00
           AK Denali Leasing LLC                                                Contingent
           205 E Dimond Blvd # 515                                              Unliquidated
           Anchorage, AK 99515                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $5,920,842.00
           Alaska Housing Finance Corporation                                   Contingent
           PO Box 101020                                                        Unliquidated
           Anchorage, AK 99510-1020                                             Disputed
           Date(s) debt was incurred 12/15/11
                                                                             Basis for the claim:
           Last 4 digits of account number 4564
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $2,286,297.00
           Alaska Housing Finance Corporation                                   Contingent
           PO Box 101020                                                        Unliquidated
           Anchorage, AK 99510-1020                                             Disputed
           Date(s) debt was incurred 12/15/11
                                                                             Basis for the claim:
           Last 4 digits of account number 5061
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 4
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 Debtor       RB Enterprises LLC                                                                      Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          Amex Blue                                                             Contingent
          PO Box 981535                                                         Unliquidated
          El Paso, TX 79998-1535                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       1001
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $24,800.00
          Amex Lowes                                                            Contingent
          PO Box 981535                                                         Unliquidated
          El Paso, TX 79998-1535                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       1008
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $350.00
          AT&T Mobility                                                         Contingent
          PO Box 6463                                                           Unliquidated
          Carol Stream, IL 60197-6463                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       5088
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $35,500.00
          Bank of America VISA                                                  Contingent
          PO Box 982238                                                         Unliquidated
          El Paso, TX 79998-2238                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       0742
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $229,000.00
          Boyd Chandler Falconer                                                Contingent
          911 West Eighth Ave #302                                              Unliquidated
          Anchorage, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          Fed Ex                                                                Contingent
          3965 Airways, Module G                                                Unliquidated
          Memphis, TN 38116                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       1938
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          General Communications Inc.                                           Contingent
          PO Box 99016                                                          Unliquidated
          Anchorage, AK 99509-9016                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       6244
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 4
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          Case 21-00040                   Filed 03/01/21              Entered 03/01/21 12:02:11                           Doc# 1            Page 17 of 35
 Debtor       RB Enterprises LLC                                                                      Case number (if known)
              Name

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,000.00
           Home Depot                                                           Contingent
           PO Box 790345                                                        Unliquidated
           Saint Louis, MO 63179-0345                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
           Last 4 digits of account number      2289
                                                                             Is the claim subject to offset?     No       Yes

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $250.00
           Office Depot                                                         Contingent
           94-1489 Moaniani Street                                              Unliquidated
           Waipahu, HI 96797                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $720,213.58
           Robert Gross                                                         Contingent
           205 E Dimond Blvd # 515                                              Unliquidated
           Anchorage, AK 99515                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Amount may ultimate include an additional $47,500
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,000.00
           Small Business Administration                                        Contingent
           PO Box 3918                                                          Unliquidated
           Portland, OR 97208-3918                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number      3934
                                                                             Is the claim subject to offset?     No       Yes

 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $120,415.00
           Small Business Financial Solutions                                   Contingent
           4500 East West HIghway, 6th                                          Unliquidated
           Bethesda, MD 20814                                                   Disputed
           Date(s) debt was incurred 01/21/20
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number 2525
                                                                             Is the claim subject to offset?     No       Yes

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $33,000.00
           Tower Properties Construction Inc.                                   Contingent
           205 E Dimond Blvd # 515                                              Unliquidated
           Anchorage, AK 99515-1000                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 4
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 Debtor       RB Enterprises LLC                                                                  Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.       $                    0.00
 5b. Total claims from Part 2                                                                       5b.   +   $            9,530,375.58

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              9,530,375.58




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 4
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         Case 21-00040                    Filed 03/01/21             Entered 03/01/21 12:02:11             Doc# 1         Page 19 of 35
 Fill in this information to identify the case:

 Debtor name         RB Enterprises LLC

 United States Bankruptcy Court for the:            DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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          Case 21-00040                   Filed 03/01/21             Entered 03/01/21 12:02:11           Doc# 1        Page 20 of 35
 Fill in this information to identify the case:

 Debtor name         RB Enterprises LLC

 United States Bankruptcy Court for the:            DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      IT, LLC                           205 E Dimond Blvd #515                            Alaska Housing                     D
                                               Anchorage, AK 99515                               Finance Corporation                E/F       3.4
                                                                                                                                    G




    2.2      IT, LLC                           205 E Dimond Blvd #515                            Alaska Housing                     D
                                               Anchorage, AK 99515                               Finance Corporation                E/F       3.3
                                                                                                                                    G




    2.3      Melodie Gross                     205 E Dimond Blvd. 515                            Amex Blue                          D
                                               Anchorage, AK 99515                                                                  E/F       3.5
                                                                                                                                    G




    2.4      Melodie Gross                     205 E Dimond Blvd. #515                           Bank of America                    D
                                               Anchorage, AK 99515                               VISA                               E/F       3.8
                                                                                                                                    G




    2.5      Mystery Ranch,                    10710 Constitution Street                         Alaska Housing                     D
             LLC                               Anchorage, AK 99515                               Finance Corporation                E/F       3.3
                                                                                                                                    G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 2
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 Debtor       RB Enterprises LLC                                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Mystery Ranch,                    10710 Consitution Street                         Alaska Housing              D
             LLC                               Anchorage, AK 99515                              Finance Corporation         E/F       3.4
                                                                                                                            G




    2.7      Robert Gross                      205 E Dimond Blvd. #515                          Amex Lowes                  D
                                               Anchorage, AK 99519                                                          E/F       3.6
                                                                                                                            G




Official Form 206H                                                          Schedule H: Your Codebtors                                Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         RB Enterprises LLC

 United States Bankruptcy Court for the:            DISTRICT OF ALASKA

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                          04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                           Gross revenue
       which may be a calendar year                                                            Check all that apply                         (before deductions and
                                                                                                                                            exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue            Gross revenue from
                                                                                                                                            each source
                                                                                                                                            (before deductions and
                                                                                                                                            exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Bush Kornfeld LLP                                           03/01/21                         $20,235.50           Secured debt
               601 Union St., #5000                                                                                              Unsecured loan repayments
               Seattle, WA 98101-2373                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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          Case 21-00040                   Filed 03/01/21               Entered 03/01/21 12:02:11                     Doc# 1           Page 23 of 35
 Debtor       RB Enterprises LLC                                                                        Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Mystery Ranch et al. v. Gross                     Partnership                Alaska Superior Court, 3rd                   Pending
               et al.,                                           Dispute                    Judicial Dist                                On appeal
               3AN-14-08418CI                                                               825 W 4th Ave
                                                                                                                                         Concluded
                                                                                            Anchorage, AK 99501


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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          Case 21-00040                   Filed 03/01/21                 Entered 03/01/21 12:02:11                      Doc# 1         Page 24 of 35
 Debtor        RB Enterprises LLC                                                                           Case number (if known)




           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Bush Kornfeld LLP
                601 Union St., #5000
                Seattle, WA 98101-2373                                                                                         02/29/21                $20,235.50

                Email or website address
                bskd.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies

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 Debtor        RB Enterprises LLC                                                                       Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     First National Bank Alaska                      XXXX-8242                   Checking                 05/29/20                           $186.25
                 101 West 36th Avenue                                                        Savings
                                                                                                                      Account
                 Anchorage, AK 99503                                                                                  transferred to
                                                                                             Money Market
                                                                                                                      Northrim Bank.
                                                                                             Brokerage
                                                                                                                      See Schedule B3.
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    IT, LLC                                          Owns and Operates Inlet Tower                    EIN:         XX-XXXXXXX
             205 E Dimond Blvd, #515                          Hotel & Suites, Anchorage, AK
             Anchorage, AK 99515                                                                               From-To      08/12/11 to Present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Robert Gross
                    205 E Dimond Blvd # 515
                    Anchorage, AK 99515

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Robert Gross
                    205 E Dimond Blvd # 515
                    Anchorage, AK 99515

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Robert Gross                                   205 E Dimond Blvd # 515                             Manager and Member                            95%
                                                      Anchorage, AK 99515

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Melodie Gross                                  205 E Dimond Blvd # 515                             Member                                        5%
                                                      Anchorage, AK 99515


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29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 1, 2021

 /s/ Robert Gross                                                       Robert Gross
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Member/Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
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                                                                        District of Alaska
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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Preparation of a plan and disclosure statement and negotiations with creditors regarding the same.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 1, 2021                                                             /s/ Christine M. Tobin-Presser
     Date                                                                      Christine M. Tobin-Presser
                                                                               Signature of Attorney
                                                                               Bush Kornfeld LLP
                                                                               601 Union St., Suite 5000
                                                                               Seattle, WA 98101-2373
                                                                               (206) 292-2110 Fax: (206) 292-2104
                                                                               ctobin@bskd.com
                                                                               Name of law firm




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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Melodie Gross                                                                        5%                                         LLC Membership Interest
 205 E Dimond Blvd # 515
 Anchorage, AK 99515

 Robert Gross                                                                         95%                                        LLC Membership
 205 E Dimond Blvd # 515
 Anchorage, AK 99515


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member/Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date March 1, 2021                                                          Signature /s/ Robert Gross
                                                                                            Robert Gross

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the Member/Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 1, 2021                                            /s/ Robert Gross
                                                                      Robert Gross/Member/Manager
                                                                      Signer/Title




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      Internal Revenue Service
      Jackson Federal Bldg
      915 2nd Ave M/S W243
      Seattle, WA 98174


      Commodity Futures Trading
      1155 21st St NW
      Washington, DC 20581


      Securities & Exchange Comm
      Office of Reorganization
      444 S Flower St. #900
      Los Angeles, CA 90071


      32 Mile Investments LLC
      205 E Dimond Blvd # 515
      Anchorage, AK 99515


      AK Denali Leasing LLC
      205 E Dimond Blvd # 515
      Anchorage, AK 99515


      Alaska Housing Finance Corporation
      PO Box 101020
      Anchorage, AK 99510-1020


      Amex Blue
      PO Box 981535
      El Paso, TX 79998-1535


      Amex Lowes
      PO Box 981535
      El Paso, TX 79998-1535


      AT&T Mobility
      PO Box 6463
      Carol Stream, IL 60197-6463


      Bank of America VISA
      PO Box 982238
      El Paso, TX 79998-2238


      Boyd Chandler Falconer
      911 West Eighth Ave #302
      Anchorage, AK 99501
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  Business Financial Services, Inc.
  3301 N University Drive, Suite 3000
  Coral Springs, FL 33065


  Fed Ex
  3965 Airways, Module G
  Memphis, TN 38116


  General Communications Inc.
  PO Box 99016
  Anchorage, AK 99509-9016


  Home Depot
  PO Box 790345
  Saint Louis, MO 63179-0345


  IT, LLC
  205 E Dimond Blvd #515
  Anchorage, AK 99515


  Melodie Gross
  205 E Dimond Blvd. 515
  Anchorage, AK 99515


  Melodie Gross
  205 E Dimond Blvd. #515
  Anchorage, AK 99515


  Mystery Ranch LLC
  c/o Jefferey Cunningham
   10710 Constitution Street
  Anchorage, AK 99515


  Mystery Ranch, LLC
   10710 Constitution Street
  Anchorage, AK 99515


  Mystery Ranch, LLC
  10710 Consitution Street
  Anchorage, AK 99515


  Office Depot
  94-1489 Moaniani Street
  Waipahu, HI 96797
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  Robert Gross
  205 E Dimond Blvd # 515
  Anchorage, AK 99515


  Robert Gross
  205 E Dimond Blvd. #515
  Anchorage, AK 99519


  Small Business Administration
  PO Box 3918
  Portland, OR 97208-3918


  Small Business Financial Solutions
  4500 East West HIghway, 6th
  Bethesda, MD 20814


  Tower Properties Construction Inc.
  205 E Dimond Blvd # 515
  Anchorage, AK 99515-1000


  Wayne Dawson
  Dawson Law Group
  PO Box 244965
  Anchorage, AK 99524
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for RB Enterprises LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 1, 2021                                                       /s/ Christine M. Tobin-Presser
 Date                                                                Christine M. Tobin-Presser
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for RB Enterprises LLC
                                                                     Bush Kornfeld LLP
                                                                     601 Union St., Suite 5000
                                                                     Seattle, WA 98101-2373
                                                                     (206) 292-2110 Fax:(206) 292-2104
                                                                     ctobin@bskd.com




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